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          Case 2:21-cr-00335-JAK Document 1 Filed 07/23/21 Page 1 of 9 Page    IDDISTRICT
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                                                                         CENTRAL DISTRICT OF CALIFORNIA
 1                                                                                  JBB
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 8                               UNITED STATES DISTRICT COURT

 9                         FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                    June 2021 Grand Jury

11   UNITED STATES OF AMERICA,                     CR   2:21-cr-00335-JAK-1

12                 Plaintiff,                      I N D I C T M E N T

13                 v.                              [18 U.S.C. § 1343: Wire Fraud; 18
                                                   U.S.C. § 1001(a)(1): Falsifying,
14   JEFFREY DEAN MOFFATT,                         Concealing, and Covering a
                                                   Material Fact by Trick, Scheme,
15                 Defendant.                      and Device; 18 U.S.C.
                                                   § 981(a)(1)(C) and 28 U.S.C.
16                                                 § 2461(c): Criminal Forfeiture]
17

18           The Grand Jury charges:
19                                  COUNTS ONE THROUGH FIVE
20                                 [18 U.S.C. §§ 1343, 2(b)]
21   A.      INTRODUCTORY ALLEGATIONS
22           At times relevant to this Indictment:
23           1.    Defendant JEFFREY DEAN MOFFATT was a resident of Los
24   Angeles County.
25           2.    Defendant MOFFATT was disbarred from the State Bar of
26   Arizona, in part based on a finding that defendant MOFFATT had
27   committed an act that reflected adversely on defendant MOFFATT’s
28   honesty, trustworthiness, or fitness as a lawyer.                 Defendant
       Case 2:21-cr-00335-JAK Document 1 Filed 07/23/21 Page 2 of 9 Page ID #:2



 1   MOFFATT’s name was stricken from the roll of lawyers in Arizona

 2   effective on or about April 6, 2016, and he was no longer entitled to

 3   the rights and privileges of a lawyer licensed by the state of

 4   Arizona.

 5           3.   Defendant MOFFATT was reciprocally disbarred from practice

 6   before the United States Tax Court effective on or about April 13,

 7   2017.

 8           4.   Defendant MOFFATT was reciprocally disbarred from practice

 9   before the United States Court of Appeals for the Ninth Circuit

10   effective on or about July 28, 2017.

11           5.   Defendant MOFFATT was reciprocally disbarred from practice

12   before the United States Court of Appeals for Veterans Claims

13   effective on or about September 7, 2017.

14           6.   The United States Social Security Administration’s (“SSA”)

15   Supplemental Security Income (“SSI”) program was a government-run

16   benefits program intended to assure a minimum level of income to

17   people who were aged, blind, or disabled, and who had limited income

18   and resources.    The disability component of the SSA Retirement,

19   Survivors, and Disability Insurance program was a government-run

20   program that provided benefits to people who were disabled and could

21   not work.

22           7.   A person seeking benefits from SSA (an “SSA claimant”)

23   could appoint a qualified individual (a “representative”) to

24   represent the SSA claimant in seeking benefits from SSA.

25           8.   Representatives were required to abide by standards of

26   conduct, which were published in the Code of Federal Regulations.

27   SSA’s published code of conduct imposed on representatives certain

28   affirmative duties, including the following:

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          Case 2:21-cr-00335-JAK Document 1 Filed 07/23/21 Page 3 of 9 Page ID #:3



 1                 a.    Be forthright in their dealings with SSA;

 2                 b.    Disclose to SSA whether the representative was or had

 3   been disbarred or suspended from any bar or court to which he or she

 4   was previously admitted to practice; and

 5                 c.    Disclose to SSA whether the representative had been

 6   removed from practice or suspended by a professional licensing

 7   authority for reasons that reflect on the person’s character,

 8   integrity, judgment, reliability, or fitness to serve as a fiduciary.

 9   If the removal or suspension occurred after the appointment of the

10   representative, the representative was required to immediately

11   disclose the removal or suspension to SSA.

12           9.    To charge an SSA claimant a fee for the representative’s

13   services, the representative was required to obtain written approval

14   from SSA.      If SSA authorized the representative’s fee, SSA would

15   withhold up to 25%, but no greater than $6,000, of the SSA claimant’s

16   past-due benefits for payment of all or part of the representative’s

17   authorized fee.

18           10.   SSA benefits, including the portion of those benefits that

19   were paid to representatives as an authorized fee, were disbursed by

20   the United States Department of the Treasury.

21           11.   Defendant MOFFATT was the sole signatory listed on a Bank

22   of America business checking account (“MOFFATT’s Bank of America

23   Account”).

24   B.      THE SCHEME TO DEFRAUD

25           12.   Beginning on or about April 6, 2016, and continuing until
26   at least on or about May 19, 2021, in Los Angeles County, within the
27   Central District of California, and elsewhere, defendant MOFFATT,
28   knowingly and with the intent to defraud, devised, participated in,
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       Case 2:21-cr-00335-JAK Document 1 Filed 07/23/21 Page 4 of 9 Page ID #:4



 1   and executed a scheme to defraud SSA and the United States as to

 2   material matters, and to obtain money and property from SSA, SSA

 3   claimants, and the United States by means of materially false and

 4   fraudulent pretenses, representations, and promises, and the omission

 5   and concealment of material facts.

 6        13.   The scheme to defraud operated, in substance, as follows:

 7              a.    After he was disbarred from the State Bar of Arizona,

 8   defendant MOFFATT would continue to represent SSA claimants in

 9   matters before SSA.

10              b.    Defendant MOFFATT would not disclose to SSA, and would

11   conceal from SSA, that he had been disbarred from the State Bar of

12   Arizona in part based on a finding that defendant MOFFATT had

13   committed an act that reflected adversely on defendant MOFFATT’s

14   honesty, trustworthiness, or fitness as a lawyer.

15              c.    Defendant MOFFATT further would not disclose to SSA,

16   and would conceal from SSA, that he was thereafter reciprocally

17   disbarred from several courts.

18              d.    When asked on SSA forms if he had ever been disbarred

19   or suspended from a court or bar to which he was previously admitted

20   to practice as an attorney, defendant MOFFATT would respond “no.”            In

21   fact, as defendant MOFFATT then knew, he had been disbarred from the

22   State Bar of Arizona and several courts, including the United States

23   Tax Court, the United States Court of Appeals for the Ninth Circuit,

24   and the United States Court of Appeals for Veterans Claims.

25              e.    Defendant MOFFATT would charge a fee for his services

26   as a representative and request direct payment of fees from withheld

27   past-due benefits owed to the SSA claimants he represented.

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          Case 2:21-cr-00335-JAK Document 1 Filed 07/23/21 Page 5 of 9 Page ID #:5



 1           14.   In total, defendant MOFFATT falsely represented to SSA, and

 2   concealed from SSA, that he had never been disbarred in at least

 3   approximately 65 matters.

 4           15.   As a result of defendant MOFFATT’s false representations

 5   and omissions in connection with his representation of SSA claimants,

 6   defendant MOFFATT received from SSA a total of approximately $113,146

 7   of SSA claimants’ past-due benefits.

 8   C.      USE OF THE WIRES

 9           16.   On or about the dates set forth below, within the Central
10   District of California, and elsewhere, defendant MOFFATT, for the
11   purpose of executing the above-described scheme to defraud, caused
12   the transmission of the following items by means of wire
13   communications in interstate commerce:
14
          COUNT    DATE            ITEM
15
                                   Payment issued to defendant MOFFATT in his
16                                 capacity as representative of SSA claimant
                                   G.E.A. in the amount of $5,909.00,
17                                 transferred by means of interstate wires
          ONE      8/16/2017       from the United States Treasury in Kansas
18                                 City, Missouri to MOFFATT’s Bank of
                                   America account in Los Angeles County,
19                                 California.

20                                 Payment issued to defendant MOFFATT in his
                                   capacity as representative of SSA claimant
21                                 J.G. in the amount of $5,907.00,
                                   transferred by means of interstate wires
          TWO      3/8/2018
22                                 from the United States Treasury in Kansas
                                   City, Missouri to MOFFATT’s Bank of
23                                 America account in Los Angeles County,
                                   California.
24
                                   Payment issued to defendant MOFFATT in his
25                                 capacity as representative of SSA claimant
                                   G.M. in the amount of $5,905.00,
26                                 transferred by means of interstate wires
          THREE    3/7/2019        from the United States Treasury in Kansas
27                                 City, Missouri to MOFFATT’s Bank of
                                   America account Los Angeles County,
28                                 California.

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     Case 2:21-cr-00335-JAK Document 1 Filed 07/23/21 Page 6 of 9 Page ID #:6



 1
     COUNT   DATE             ITEM
 2
                              Payment issued to defendant MOFFATT in his
 3                            capacity as representative of SSA claimant
                              A.W. in the amount of $5,903.00,
 4                            transferred by means of interstate wires
     FOUR    1/6/2020         from the United States Treasury in Kansas
 5                            City, Missouri to MOFFATT’s Bank of
                              America account Los Angeles County,
 6                            California.

 7                            Payment issued to defendant MOFFATT in his
                              capacity as representative of SSA claimant
 8                            S.R. in the amount of $5,903.00,
                              transferred by means of interstate wires
     FIVE    3/25/2020
 9                            from the United States Treasury in Kansas
                              City, Missouri to MOFFATT’s Bank of
10                            America Account Los Angeles County,
                              California.
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       Case 2:21-cr-00335-JAK Document 1 Filed 07/23/21 Page 7 of 9 Page ID #:7



 1                                      COUNT SIX

 2                             [18 U.S.C. § 1001(a)(1)]

 3        17.   The Grand Jury realleges paragraphs 1 through 15 of this

 4   Indictment.

 5        18.   Beginning no later than on or about April 6, 2016, and

 6   continuing through at least on or about May 19, 2021, in Los Angeles

 7   County, within the Central District of California, and elsewhere, in

 8   a matter within the jurisdiction of the executive branch of the

 9   government of the United States, namely, the Social Security

10   Administration (“SSA”), defendant JEFFREY DEAN MOFFATT knowingly and

11   willfully falsified, concealed, and covered up by trick, scheme, and

12   device, material facts within SSA’s jurisdiction, namely, that

13   defendant MOFFATT had been disbarred from the State Bar of Arizona

14   effective on or about April 6, 2016, and was subsequently disbarred

15   from practice before several courts to which he was previously

16   admitted to practice as an attorney, including the United States Tax

17   Court, the United States Court of Appeals for the Ninth Circuit, and

18   the United States Court of Appeals for Veterans Claims.

19        19.   Defendant MOFFATT carried out the trick, scheme, and

20   device, in substance, in the manner described in paragraphs 12

21   through 15 of this Indictment.

22        20.   By operation of the above-described scheme, defendant

23   MOFFATT, who had the duty to disclose material information to SSA in

24   connection with his representation of SSA claimants, falsified,

25   concealed and covered up information that was capable of influencing

26   SSA’s decision to allow defendant MOFFATT to participate in

27   proceedings before SSA and receive payment in connection with his

28   representation of SSA claimants.
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          Case 2:21-cr-00335-JAK Document 1 Filed 07/23/21 Page 8 of 9 Page ID #:8



 1                                  FORFEITURE ALLEGATION

 2                 [18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

 3           1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 981(a)(1)(C) and Title 28, United States

 7   Code, Section 2461(c), in the event of the defendant’s conviction of

 8   the offenses set forth in any of Counts One through Five of this

 9   Indictment.

10           2.    The defendant, if so convicted, shall forfeit to the United

11   States of America the following:

12                 (a)   All right, title, and interest in any and all

13   property, real or personal, constituting, or derived from, any

14   proceeds traceable to the offenses; and

15                 (b)   To the extent such property is not available for

16   forfeiture, a sum of money equal to the total value of the property

17   described in subparagraph (a).

18           3.    Pursuant to Title 21, United States Code, Section 853(p),

19   as incorporated by Title 28, United States Code, Section 2461(c), the

20   defendant, if so convicted, shall forfeit substitute property, up to

21   the value of the property described in the preceding paragraph if, as

22   the result of any act or omission of the defendant, the property

23   described in the preceding paragraph or any portion thereof (a)

24   cannot be located upon the exercise of due diligence; (b) has been

25   transferred, sold to, or deposited with a third party; (c) has been

26   placed beyond the jurisdiction of the court; (d) has been

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       Case 2:21-cr-00335-JAK Document 1 Filed 07/23/21 Page 9 of 9 Page ID #:9



 1   substantially diminished in value; or (e) has been commingled with

 2   other property that cannot be divided without difficulty.

 3
                                                 A TRUE BILL
 4

 5

 6                                                      /S/
                                                 Foreperson
 7

 8
     TRACY L. WILKISON
 9   Acting United States Attorney
10

11
     SCOTT M. GARRINGER
12   Assistant United States Attorney
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13
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     JOSHUA O. MAUSNER
16   Assistant United States Attorney
     Deputy Chief, General Crimes
17   Section
18   CAROLYN S. SMALL
     Assistant United States Attorney
19   Major Frauds Section
20

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